                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
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 UNITED STATES OF AMERICA,                             No. 1:21-cr-40

                 Plaintiff,                            Hon. Robert J. Jonker
 v.                                                    Chief United States District Judge

 CHRISTOPHER ALLAN BODEN, a/k/a                        Hon. Phillip J. Green
 “Captain,” LEESA BETH VOGT, a/k/a                     United States Magistrate Judge
 “Lis Bokt,” a/k/a “Moose,” and DANIEL
 REYNOLD DEJAGER, a/k/a “Daniel
 Reynold,” a/k/a “Daniel Miester,” a/k/a
 “Danichi,”

             Defendants.
 _____________________________________/


             DEFENDANTS’ JOINT UNOPPOSED MOTION
       TO EXTEND THE DEADLINE TO FILE PRE-TRIAL MOTIONS

        Defendants Christopher Allan Boden, Leesa Beth Vogt, and Daniel Reynold DeJager, by

and through their undersigned attorneys, respectfully request the Court to extend the current

deadline for the parties to file their pre-trial motions.

        The Court previously set a deadline of July 1, 2021 for the Defendants to file pre-trial

motions and a trial date of September 21, 2021. (ECF No. 34.) Defendants have analyzed and

continue to analyze and consider the potential to file a joint pretrial motion, and in light of the

novel legal issues presented by this matter, respectfully request that the Court extend that dead-

line by 14 days to July 15, 2021. FED. R. CRIM. P. 12(c)(2). Defendants do not seek to alter any

other dates applicable to this matter.
           On June 18, 2021, AUSA Justin Presant informed Defendants’ counsel via email that the

United States does not object to the requested relief. Consequently, the request is “unopposed”

by the United States.

Dated: June 21, 2021                              /s/ Brian P. Lennon
                                                  Brian P. Lennon (P 47361)
                                                  Paul H. Beach (P82036)
                                                  Warner Norcross + Judd LLP
                                                  150 Ottawa Avenue, NW, Suite 1500
                                                  Grand Rapids, MI 49503
                                                  (616) 752-2000
                                                  blennon@wnj.com
                                                  pbeach@wnj.com

                                                  Attorneys for Defendant Christopher Boden


Dated: June 21, 2021                              /s/ Brett A. Purtzer (with permission)
                                                  Brett A. Purtzer
                                                  HESTER LAW GROUP, INC., P.S.
                                                  1008 S. Yakima Avenue, Suite 302
                                                  Tacoma, WA 98405
                                                  (253) 272-2157

                                                  Attorneys for Defendant Daniel Reynold
                                                  DeJager


Dated: June 21, 2021                              /s/ Matthew G. Borgula (with permission)
                                                  Matthew G. Borgula (P57330)
                                                  Laura J. Helderop (P82224)
                                                  SPRINGSTEAD BARTISH BORGULA &
                                                  LYNCH, PLLC
                                                  60 Monroe Center NW, Suite 500
                                                  Grand Rapids, MI 49503
                                                  (616) 458-5500

                                                  Attorneys for Defendant Leesa Vogt
21875666



             IT IS SO ORDERED.

           June 21, 2021                          /s/ Robert J. Jonker
 Dated: __________________                      ________________________________________
                                                 ROBERT J. JONKER
                                                 CHIEF UNITED STATES DISTRICT JUDGE
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